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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

WAL-MART STORES, INC.

                Plaintiff,                           Case No. _________________

v.                                                   Hon. ____________________

DON COLEMAN ADVERTISING INC.,
d/b/a GLOBALHUE,

JOHN POLDERMAN, in his capacity as
state court receiver for Donald Coleman,

RINGSIDE CREATIVE, LLC,

COMERICA INCORPORATED, and

UNITED STATES OF AMERICA,
INTERNAL REVENUE SERVICE,

                Defendants.


         WAL-MART STORES, INC.’S INTERPLEADER COMPLAINT

             NOW COMES, Wal-Mart Stores, Inc., through its attorneys ZAUSMER

     AUGUST & CALDWELL, P.C., and hereby files this Interpleader Complaint

     pursuant to 28 U.S.C. § 1335 and Fed. R. Civ. P. 22 against the above-

     captioned Defendants, and states as follows:

                                       PARTIES

          1.     Wal-Mart Stores, Inc. (“Wal-Mart”) is a corporation incorporated in

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 Delaware with a principal place of business in Arkansas. As such, Wal-Mart is a

 citizen of Delaware and Arkansas.

         2.   Don Coleman Advertising Inc. d/b/a GlobalHue (“GlobalHue”) is a

 corporation incorporated in Michigan with a principal place of business in

 Southfield, Oakland County, Michigan. As such, GlobalHue is a citizen of

 Oakland County, Michigan.

         3.   John Polderman is an individual residing in Oakland County,

 Michigan appointed by the Oakland County Circuit Court as receiver for Donald

 Coleman, relative to an action for divorce. Amended Order Appointing Receiver,

 attached hereto as “Exhibit A”. As such, John Polderman, in his capacity as

 state court receiver for Donald Coleman, is a citizen of Oakland County,

 Michigan.

         4.   Ringside Creative, LLC (“Ringside”) is a Michigan limited liability

 company with a principal place of business in Oak Park, Oakland County,

 Michigan. As such, Ringside is a citizen of Oakland County, Michigan.

         5.   Comerica Incorporated (“Comerica”) is a corporation incorporated

 in Delaware with a principal place of business in Texas. As such, Comerica is a

 citizen of Delaware and Texas.

         6.   The United States of America, Internal Revenue Service (“IRS”) is

 an agency of the United States of America.


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                                  JURISDICTION

         7.    Wal-Mart’s Interpleader Complaint is brought pursuant to 28 U.S.C.

 § 1335 and Rule 22 of the Federal Rules of Civil Procedure. Wal-Mart has in its

 custody and possession a sum of money in the amount of $281,250.00 (the

 “Money”). Two or more of the above-named Defendants have asserted, or may

 assert, adverse and inconsistent claims to the Money, potentially exposing Wal-

 Mart to double or multiple liability. Wal-Mart is ready, willing, and able to

 deposit the Money into the registry of the Court.

         8.    The Court has diversity jurisdiction over this interpleader action

 because, pursuant to 28 U.S.C. § 1335, two or more adverse claimants of diverse

 citizenship are claiming or may claim to be entitled to such Money.

                                      VENUE

         9.    Venue is proper in this District and Division pursuant to 28 U.S.C. §

 1397 because one or more of the claimants reside in Oakland County, Michigan,

 which is in the Eastern District of Michigan.

                                    COUNT I
                                 INTERPLEADER

         10.   Wal-Mart is a disinterested stakeholder seeking direction from the

 Court as to which party or parties are entitled to what portion of the Money.

         11.   Wal-Mart purchased certain advertising services from GlobalHue.


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 GlobalHue issued invoices to Wal-Mart, some of which remain unpaid. Wal-

 Mart wishes to satisfy its obligations to GlobalHue.

        12.    John Polderman, in his capacity as state court receiver for Donald

 Coleman, is the duly appointed receiver with authority over all of Donald

 Coleman’s membership interests, shares of stock, and interests in businesses,

 including GlobalHue. Thus, John Polderman, in his capacity as state court

 receiver for Donald Coleman, asserts or may assert an interest or claim relative

 to the Money.

         13.    On January 5, 2016, Ringside obtained a consent money judgment

 against GlobalHue in the amount of $400,000 in Oakland County Circuit Court

 Case No. 15-147519-CB (“the State Court”).

         14.    Incident to the Ringside Consent Judgment, the State Court issued

 Writs for Garnishment (non-periodic) against various parties, including Wal-

 Mart. Writ of Garnishment, attached hereto as “Exhibit B.” In compliance with

 the Writ of Garnishment, Wal-Mart began to withhold the funds it owed to

 GlobalHue.

        15.    Comerica has informed Wal-Mart that Wal-Mart’s account payable

 to GlobalHue has been assigned to Comerica, pursuant to an amended security

 agreement. Comerica has demanded that all payments on Wal-Mart’s account

 payable to GlobalHue be paid directly to Comerica. Comerica Letter Regarding

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 Payment, attached hereto as “Exhibit C”.

        16.      The IRS asserts or may assert liens, security interests, and/or claims

 relative to the Money as a tax creditor of GlobalHue. Michigan Dept. of State,

 Uniform Commercial Code Statement, attached hereto as “Exhibit D.”

 Specifically:

        a) On November 10, 2008, the IRS filed federal tax lien #2008172444-5 in

              the State of Michigan against taxpayer “Don Coleman Advertising Inc.”,

              having an address of 4000 Town Ctr, Ste 1600, Southfield, MI 48075-

              1400. Attn: Team 204, 145585 Stop 8420G, Cincinnati, OH 45250-

              5585; and

        b) On December 8, 2015, the IRS filed federal tax lien #2015169300-1 in

              the State of Michigan against taxpayers “Don Coleman Advertising Inc”

              and “GlobalHue”, each having an address of 4000 Town Ctr, Ste 1600,

              Southfield, MI 48075-1400. Attn: Team 204, 145585 Stop 8420G,

              Cincinnati, OH 45250-5585.

        17.      Wal-Mart has filed this Interpleader Complaint to avoid multiple

 liability and unnecessary suits and costs.

        18.      Wal-Mart is ready, willing, and able to deposit the Money into the

 registry of the Court.




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        19.       Wal-Mart makes no claims to the Money, but requests that the Court

 adjudicate any adverse and inconsistent claims of the Defendants as to each of

 their interests in, and entitlement to, the Money.

        20.        Wal-Mart has not unreasonably delayed the filing of this

Interpleader Complaint.

        21.        Wal-Mart further alleges that it is entitled to recover reasonable

attorneys’ fees and costs as a result of these proceedings. Wal-Mart is an

innocent, disinterested stakeholder that has brought this proceeding in good faith,

and has reasonable doubts as to the party or parties entitled to the Money. See

First Trust Corp. v. Bryant, 410 F.3d 842, 856 (6th Cir. 2005).

                                  REQUEST FOR RELIEF
         Wal-Mart requests that each of the above-named Defendants be cited to

 answer herein, interpleading any and all claims to the Money. Wal-Mart further

 requests the following:

      1. That the Court grant leave to Wal-Mart to deposit the Money into the

             registry of the Court;

      2. That the Court enter an order directing which of the Defendants are

             entitled to what portion of the Money;

      3. That the Court enter an order discharging Wal-Mart from all liability to

             each of the Defendants on account of the matters relating to the Money,


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             and granting injunctive relief restraining each of the Defendants from

             instituting or maintaining any action against Wal-Mart for recovery of the

             Money;

      4. That Wal-Mart recover reasonable fees for the service of its attorneys,

             together with all court costs and expenses incurred by Wal-Mart in this

             suit, with all such fees costs, and expenses to be paid out of the Money

             prior to any award to the prevailing party or parties; and

      5. Such other and further relief, at law or in equity, to which the Court finds

             that Wal-Mart is entitled.


                                            Respectfully submitted,
                                            ZAUSMER, AUGUST & CALDWELL, P.C.

                                            /s/ Mark M. Bassily
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Dated: June 23, 2017                        nwright@zacfirm.com




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